                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF MISSOURI
                                 CENTRAL DIVISION


UNITED STATES OF AMERICA,                               )
                                                        )
                                Plaintiff,              )
                                                        )
                        v.                              )       No. 09-4003-04-CR-C-NKL
                                                        )
DeMARCO LARON BURNETT,                                  )
                                                        )
                                Defendant.              )

                              REPORT AND RECOMMENDATION

         This case was referred to the undersigned United States Magistrate Judge for processing
in accord with the Magistrate Act, 28 U.S.C. § 636, and W.D. Mo. R. 22.
         On June 8, 2009, a hearing was held on the motions to suppress, for change of venue and
to sever filed by defendant DeMarco Laron Burnett. Defendant Burnett appeared in person and
was represented by counsel Brian David Risley.
         Defendant Burnett’s motion for change of venue argues he will be prejudiced by the fact
that the juror pool picked to decide his case will have heard of the “Cutthroat Gang” and
defendant’s association with the gang, thereby depriving defendant of an opportunity to receive a
fair trial.
         A motion to transfer under Federal Rule of Criminal Procedure 21(a) based on pretrial
publicity is addressed at the sound discretion of the court. United States v. Green, 983 F.2d 100,
102 (8th Cir. 1992). When a change of venue request is made to the court alleging that pretrial
publicity would make a trial unfair, the court must determine whether the publicity is so extreme
and corrupting that it must be assumed that unfairness of constitutional magnitude would exist
absent a change in the trial location. United States v. Nelson, 347 F.3d 701, 707 (8th Cir. 2003).
         In the instant case, this court finds there to be no inherent prejudice resulting from pretrial
publicity. Although there has been some press coverage of this case, the coverage has not been
extensive. The coverage has been nothing more than the reporting of the basic facts of the case
on the few relevant dates that there has been law enforcement activity; namely, the initial press



        Case 2:09-cr-04003-SRB           Document 247         Filed 06/30/09       Page 1 of 2
conference that notified the public of the indictment, detention status of defendants, and the
superceding indictment. The press has been merely fulfilling its duty to report matters of public
interest. There have been no articles or stories released on a daily or even weekly basis in this
case. The Eighth Circuit has been reluctant to presume prejudice from the mere fact of pretrial
publicity. Shell v. Lockhart, 14 F.3d 1289, 1293 (8th Cir. 1994). Further, the media coverage has
mainly been in the Columbia area and not in other areas of Central Missouri from which the jury
will be drawn. Nothing has been reported in the media coverage of this case that is so
sensational or inflammatory that it would warrant as drastic a remedy as a change in venue. Any
concerns regarding exposure to pretrial publicity can be adequately addressed during voir dire.
       IT IS, THEREFORE, RECOMMENDED that defendant DeMarco Laron Burnett’s
motion for change of venue be denied. [214]
       Under 28 U.S.C. § 636(b)(l), the parties may make specific written exceptions to this
recommendation within ten (10) days. If additional time is needed, a motion for an extension of
time must be filed within ten days. The motion should state the reasons for the request. See
Nash v. Black, 781 F.2d 665, 667 (8th Cir. 1986) (citing Thomas v. Arn, 474 U.S. 140 (1985));
Messimer v. Lockhart, 702 F.2d 729 (8th Cir. 1983). Failure to make specific written exceptions
to this report and recommendation may result in a waiver of the right to appeal.
       Dated this 30th day of June, 2009, at Jefferson City, Missouri.



                                              /s/   William A. Knox
                                              WILLIAM A. KNOX
                                              United States Magistrate Judge




                                                    2


       Case 2:09-cr-04003-SRB          Document 247         Filed 06/30/09      Page 2 of 2
